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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
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6
     Attorney for Defendant
7    JAMES E. BLEDSOE
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9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. Cr. S 04-0026 WBS
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER MODIFYING
          v.                         )     CONDITIONS OF PRETRIAL RELEASE
16                                   )
     JAMES E. BLEDSOE,               )
17                                   )
                    Defendant.       )
18                                   )     Judge: Hon. Dale A. Drozd
     _______________________________ )
19
20
21        IT IS HEREBY STIPULATED AND AGREED between the plaintiff, United
22   States of America, through Matthew Segal, Assistant U.S. Attorney, and
23   the defendant, James E. Bledsoe, through his counsel Linda C. Harter,
24   Chief Assistant Federal Defender, that, pursuant to 18 U.S.C. § 3145(a)
25   the conditions of pretrial release be modified.
26        Specifically, the parties agree that condition number two which
27   reads “Your travel is restricted to the State of California without the
28
               Case 2:04-cr-00026-WBS Document 88 Filed 11/20/06 Page 2 of 3


1    prior consent of the Pretrial Services Officer”1 be changed to “Your
2    travel is restricted to the United States of America and, with the
3    exception of emergencies, is subject to prior approval from the
4    Pretrial Services Officer.         In the event of an emergency, such as the
5    illness of a close family member, you must contact and obtain approval
6    from pretrial services as soon as practicable.”
7          The parties agree to this stipulation and counsel for the
8    defendant conferred with the Pretrial Service Officers in Sacramento
9    and in San Diego.       Both Officers indicated they had no objection to
10   this modification.
11
12   Dated:     November 17, 2006
                                                Respectfully submitted,
13
                                                DANIEL J. BRODERICK
14                                              Federal Defender
15
                                                     /s/ Linda C. Harter
16                                              ________________________________
                                                LINDA C. HARTER
17                                              Chief Assistant Federal Defender
                                                Attorney for Defendant
18                                              JAMES E. BLEDSOE
19
20                                         O R D E R
21         IT IS SO ORDERED.       Condition number two of the defendant’s Special
22   Conditions of Pretrial Release (originally set on March 1, 2004 and
23   later amended on June 1, 2005) is hereby modified.             That condition
24   should now read:
25         2.     Your travel is restricted to the United States of America,
26   and, with the exception of emergencies, is subject to prior approval
27
           1
           In June of 2005, following the illness of a family member in
28   Arizona, this condition was modified to permit travel, with advanced
     approval, to Arizona.
     Stip and Order re Pretrial Release        -2-
             Case 2:04-cr-00026-WBS Document 88 Filed 11/20/06 Page 3 of 3


1    from the Pretrial Services Officer.           In the event of an emergency, such
2    as the illness of a close family member, you must contact and obtain
3    approval from the Pretrial Services Officer as soon as practicable.
4    DATED: November 20, 2006.
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     Stip and Order re Pretrial Release          -3-
